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                                      Lindsay F. DIUow
                                      Counsel
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      MEMO ENDORSED                                                             . ''h ·        USDC SONY
                                                            July 26, 2017                      DOCUMENT
      ViaE-File
      The Honorable Louis L. srJton                                                            EL£CTRO~ICALLY                     FILED
      Daniel Patrick Moynihan                                                                  DOC #: _ _ ____,_-:"----r..;..._-
      United States Courthouse
      Southern District of New York                                                            DATE FILED:                1l'k1 , U?
      500 Pearl Street
      New York, NY 10007-1312

              Re Dardashtian et al. v. Gltman, et al., 17-CV-4327 (LLS) (JCFl

      Dear Judge Stanton,

               We represent defendants David Gitman, Accel Commerce, LLC, Dalva Ventures, LLC, and                 ~ _ .
      Channel Reply, Inc. (the "Defendants") in the above-referenced action. We write in response to counsel       .J-0
      for the plaintiffs' July 26, 2017 letter to Your Honor requesting a two (2) week extension of time to respoA~O~                fia,LO'
      to the Defendants' motion to dismiss the verified complaint We do not object to the plaintiffs' request for
      a two (2) week extension of time to August 11, 2017 to respond to the motion to dismiss the verified        1 __ . ~ J               f.,
      complaint.                                                                                                  ~


                                                            Respectfully submitted,                                              ~ t._   fit'
                                                                 .li'HU'~~                                                       1/?.·11)1
